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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

UNITED STATES OF AMERICA

      VS                                                        CASE NO. 3:11cr69-MCR

RANDOLPH BRANHAM

                               REFERRAL AND ORDER

Referred to Judge M. Casey Rodgers on December 4, 2012
Motion/Pleadings: GOVERNMENT'S MOTION TO DISMISS INDICTMENT AS TO
DEFENDANT RANDOLPH BRANHAM
Filed by Government                      on 12/04/2012     Doc.#  310
RESPONSES:
                                         on                Doc.#
                                         on                Doc.#
        Stipulated           Joint Pldg.
  X     Unopposed            Consented
                                         JESSICA J. LYUBLANOVITS,
                                         CLERK OF COURT

                                          s/ Susan Simms
LC (1 OR 2)                               Deputy Clerk: Susan Simms


                                         ORDER
      Upon    consideration   of   the   foregoing,   it   is   ORDERED   this   4th   day   of
December, 2012, that:
      The relief requested is GRANTED.




                                            s/    M. Casey Rodgers
                                                          M. CASEY RODGERS
                                                 Chief United States District Judge
